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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                    Plaintiffs,

         v.                                                     Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                    Defendants.


  JOINT MOTION TO RESET BRIEFING SCHEDULE ON PLAINTIFFS’ MOTIONS
  FOR CLASS CERTIFICATION AND CLASSWIDE PRELIMINARY INJUNCTION
       Plaintiffs and Defendants, by and through undersigned counsel, jointly move the Court to

vacate the current August 2, 2021 deadline for Plaintiffs’ reply brief in support of their motions

for class certification and preliminary injunction, and to instead adopt the proposed schedule set

forth below to complete briefing on Plaintiffs’ motions. As grounds for this motion, the parties

state as follows:

       1.      Plaintiffs filed their motion for class certification on January 28, 2021 (ECF No.

23) and their motion for classwide preliminary injunction on February 5, 2021 (ECF No. 57).

Defendants’ filed their combined opposition to those motions on February 17, 2021 (ECF No. 76).

The Court has since granted the parties’ several joint motions to hold further briefing in abeyance

in light of discussions exploring ways to resolve or narrow the dispute at issue in this case.

       2.      Most recently, the Court on July 19, 2021 issued a minute order granting the parties’

July 16, 2021 joint motion to continue briefing in abeyance in light of those discussions, and reset

the deadline for Plaintiffs’ combined reply brief to August 2, 2021. That prior joint motion stated

that “[t]he parties have agreed that either party may move to terminate the abeyance by filing a

motion seeking such relief.” ECF No. 111.
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       3.       The parties’ discussions attempting to resolve or narrow the dispute in this case

have reached an impasse. The parties therefore seek to resume litigation on Plaintiffs’ motions for

class certification and classwide preliminary injunction.

       4.       The parties respectfully propose the following schedule for the completion of

briefing on Plaintiffs’ pending motions for class certification and classwide preliminary injunction:

            •   By August 2, 2021, Defendants shall file a supplemental declaration in support of

                their combined opposition to Plaintiffs’ motions for class certification and

                classwide preliminary injunction;

            •   By August 11, 2021, Plaintiffs shall file their combined reply in support of their

                motions for class certification and classwide preliminary injunction.

       5.       A proposed order is enclosed.


Dated: August 2, 2021                            Respectfully submitted,

                                                 CHANNING D. PHILLIPS
                                                 D.C. Bar #415793
                                                 Acting United States Attorney

                                                 BRIAN P. HUDAK
                                                 Acting Chief, Civil Division

                                                  /s/ Sean M. Tepe
                                                 SEAN M. TEPE, DC Bar #1001323
                                                 Assistant United States Attorney
                                                 555 Fourth St., N.W.
                                                 Washington, D.C. 20530
                                                 Phone: (202) 252-2533
                                                 Email: sean.tepe@usdoj.gov
                                                 Counsel for Defendants
                                                 s/ Lee Gelernt________
                                                 Lee Gelernt
                                                 Daniel A. Galindo**
                                                 Omar Jadwat**
                                                 Ming Cheung**
                                                 David Chen


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                              American Civil Liberties Union Foundation,
                              Immigrants’ Rights Project
                              125 Broad Street, 18th Floor
                              New York, NY 10004
                              Tel: (212) 549-2600
                              Attorneys for Plaintiffs
                              **Admitted pro hac vice




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,
 et al.,

                    Plaintiffs,
                                                                 Civ. A. No. 21-100 (EGS)
        v.

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                    Defendants.


                                     [PROPOSED] ORDER

       Upon consideration of the Joint Motion to Reset the Briefing Schedule on Plaintiffs’

Motions for Class Certification and Classwide Preliminary Injunction and for good cause shown,

it is hereby ORDERED that the Joint Motion is GRANTED.

       It is FURTHER ORDERED that Defendants shall file their supplemental declaration in

support of their combined opposition to Plaintiffs’ motions for class certification and classwide

preliminary injunction on August 2, 2021; and that Plaintiffs’ shall file their combined reply in

support of those motions on August 11, 2021.


_________________                                       __________________
Date                                                    Emmet G. Sullivan
                                                        United States District Judge




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